
This matter having come before this Court on defendant's Motion to Review Pursuant to Rule 2, this Court notes that defendant was convicted and sentenced to life imprisonment at a time when such cases were directly appealable to the Supreme Court of North Carolina. Accordingly, this Court has jurisdiction to consider defendant's petition, which we treat as a Petition for Writ of Certiorari. As such, defendant's Petition for Writ of Certiorari is denied. The State's Motion to Dismiss Petition for Review Under Rule 2 is dismissed as moot. The State's Motion to Deny Defendant's Motion for Petition for Writ of Certiorari is dismissed as moot.
By order of the Court in Conference, this 24th day of January, 2008.
